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                            7

                            8                                            UNITED STATES DISTRICT COURT
                            9                                           CENTRAL DISTRICT OF CALIFORNIA
                        10

                        11           OFFICIA IMAGING, INC.,                               Case No. 8:17-cv-2228 DOC (DFMx)
                        12                                       Plaintiff,               PLAINTIFF’S CORPORATE
                                                                                          DISCLOSURE STATEMENT
                        13                    v.                                          [FED. R. CIV. PROC. 7.1.]
                        14           JAMES LANGRIDGE, ROYAL
                                     OFFICE SOLUTIONS, INC.,
                        15
                                                                 Defendants.
                        16

                        17                              TO THE CLERK OF THE CENTRAL DISTRICT OF CALIFORNIA
                        18           FOR THE UNITED STATES DISTRICT COURT AND TO DEFENDANTS AND
                        19           THEIR ATTORNEYS OF RECORD:
                        20                              Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff OFFICIA
                        21           IMAGING, INC. (“Officia”) makes the following corporate disclosures. Offica is a
                        22           privately held corporation. No publically-traded corporation owns more than 10% of
                        23           Officia.
                        24           Dated: December 22, 2017
                        25
                                                                                        By: /s/ Stephen C. Tedesco
                        26                                                                 STEPHEN C. TEDESCO
                                                                                           LITTLER MENDELSON, P.C.
                        27                                                                 Attorneys for Plaintiff
                                                                                           OFFICIA IMAGING, INC.
                        28           Firmwide:151948032.1 088640.1000
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        415.433.1940                                                      CORPORATE DISCLOSURE STATEMENT
